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Fill in this information to identify the case:

Debtor 1 Valarie Anne Wells

Debtor2 James Douglas Wells
(Spouse, if filing)

United States Bankruptcy Court for the: Western District of Michigan (statey

Case number 20-01747

 

 

Official Form 427

Cover Sheet for Reaffirmation 1 Agreement 12/15

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach It to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

Part 1: Explain the Repayment Terms of the Reaffirmation Agreement

1. Who ts the creditor? Ally Bank
Name of the creditor

 

 

2. How muchis the debt? On the date that the bankruptcy case is filed $16,075.68

To be paid under the reaffirmation agreement $15,909.73
$354.35 per month for 52 months (if fixed interest rate)

 

 

 

3. What is the Annual Before the bankruptcy case was filed 7.79%
Percentage Rate (APR) Rey
of interest? (See Under the reaffirmation agreement 7.79% Fixed
Bankruptcy Code
§ S24kNSKE).) (Adjustable Rate
4, Does collateral secure C No
the debt?
Yes. Describe the collateral. 2013 GMC ACADIA VIN: 1GKKVTKD4DJ176789

Current market value $16,575.00

 

5. Does the creditor assert No

 

that the debt Is
nondischargable? []_ Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargable.
6. Using Information from Income and expenses reported on Schedules | and J Income and expenses stated on the reaffirmation agreament

Schedule I: Your Income
(Official Form 1061) and ae 22,| +
Schedule J: Your 6a. Combined monthly income from $ % 40 | 6e. Monthly income from all sources $4301

 

 

 

 

 

Expenses (Official Form line 12 of Schedule | after payroll deductions
106J), fill in the amounts. A, 900 = hy
6b. Monthly expense from line 22cof -Gu/9* \ | 6f. Monthly expenses - $4 “Cc { 7
Schedule J .
6c. Monthly payments on all — fr 6g. Monthly payments on all ~~
reaffirmed debts not listed on - § oe, reaffirmed debts not included in -$ ‘
Schedule J after payroll deductions .
~“ a f\ a
6d. Scheduled net monthly income $ J 6h. Present net monthly income $ O~
Subtract lines 6b and 6c from 6a. Subtract lines 6f and 6g from 6e.
If the total is less than 0, put the If the total is less than 0, put the
number in brackets. number in brackets.
Official Form 427 Cover Sheet for Reaffirmation Agreement Page 1 x A
ae
i
lO

 
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Debtor 1 Valarie Anne Wells Case Number {if known) 20-01747
First Name Middle Name Last Name
L/
7. Are the Income amounts Fi No
on the lines 6a and 6e (= . . .
different? {4 “Yes. Explain why they are different and complete line 10.

 

 

8. Are the expense
amounts on line 6b
and 6f different?

F

Teh No
' [] Yes. Explain why they are different and complete line 10.

 

 

 

9. Is the net monthly
income in line Eh less
than 07

= 1. No

oO “Yes. A presumption of hardship arises (unless creditor is a credit union).
Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
Complete line 10.

 

 

 

10. Debtor's certification
about linas 7-9

If any answer on line 7-9 is

‘ certify that each explanation on lines 7-9 is true and correct.

 

 

Yes, the debtor must sign
here.
If all the answers on lines 7-9 Signature of Debtor 1 Signature of Debtor 2 (Spouse Only in a Joint Case)
are No, go to line 11.
11. Did an attorney represent C No
the debtor in negotiating © —“\, . .
the reaffirmation Set ; Yes, Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
agreement? ~ 1 (bo
“fe Yes
rr :

 

® Sign Here

 

 

Whoever fills out this form
must sign here,

 

| certify that the attached agreement is a true and correct capy of the reaffirmation agreement between the
eT on this Cover Sheet for Reaffirmation Agreement. |

aye

 

 

 

 

{ | \
/ i~ / é
Signatdr } / \ /
le YP
/A\I IIA \/ Jinx \
AS a,
/ Printed Name ame bates fe y
w * Po ‘
Check one: \ ”

(0 _ Debtor or Debtor's Attorney
oe Creditor or Creditor’s Attomey

 

 

Official Form 427

Cover Sheet for Reaffirmation Agreement Page 2

 
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Form 24004 (12/15)

 

Check one.
£1] _Presuriplion of Undue Hardship
“| Wa Presumption of Undue Hardship _
See Debtor's Statement in Support of Reaffirmation,
Part I helow, to deierniine which box to check

 

 

 

UNITED STATES BANKRUPTCY COURT
Western District of Michigan

In re Valarié Anne Wells and James Douglas Wells, Case No. 20-01747
-Debtor(s)
Chapter 7

REAFFIRMATION DOCUMENTS
Name of Creditor: Ally Bank
C] Check this box if Creditor is a Credit Union
PART I. REAFFIRMATION AGREEMENT
Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found
in Part ¥ of this form.

A. Brief description of the original agreement being reaffirmed; Auto — Contract
For example, autoloan

B. AMOUNT REAFFIRMED: $15,909.73
The Amount Reaffirmed is the entire-amount that you aré agreeing to pay. This.
may include unpaid principal, interest, and fees and costs (if any) arising on or
‘before 05/26/2020, which is the date of the Disclosure Statement portion of this ‘form
(Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to:the Amount Reaffirmed is 7.79%.
See definition of “Annual Percentage Rate” in Part V, Section C below.
This is a (check ong) Fixed rate (J Variable rate

Ifthe loan has. a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

Valane:Anns Wells and James Douglas Wells 20-01747

 
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/ Form 2400A, Reafiirmation Documents Page 2

D, Reaffirmation Agreement Repayment Terms:
Bel 52 regular Monthly: payments of $354.35 statting on June 16, 2020.

{ Desctibe.repayment terms, including. whether future payment amount(s) may be different
from the initial payment amount,
E. Describe the collateral, if any, securing the debt:
Description: 2013 GMC._ACADIA, VIN: LGKKVTKD4DI176789

F. Did the-debt that is being reaffirmed arise from the purchase of the collateral described
above?

@Yes. What was the purchase price for the.collateral? $20,263.98
CINo. What was the amount of the original loan? $

G, Specify the chariges made by this Reaffirmation. Agreement to the most recent credit terms on
the reaffirmed-debt and any related agreement:

 

 

Terms as of the Terms After
Date:of Bankruptcy Reaffirmation
Balance due (inciuding. . a
fees and costs) $16,075.68 $15,909.73
Annual. Percentage Rate 119% LIN
Monthly Payment $354.35 $354.35

H. (} Check this box ifthe creditor is agreeing to provide you with additional future credit:in
connection with this Reaffirmation Agreenient. Describe the credit limit, the Annual
Percentage Rate that applies to future credit and any other terms on future-purchases
and advances using such credit: —__

 

PART Ul. DEBTOR'S:‘STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A, Were you represented by’an attomey during the course: of negotiating this agreement?
‘Check one. , YES cE] No

B. Is the creditor a:credit union?
Check one. O Yes KE No

Valarie Arine Wells and James Douglas. Wells.30-01 747

 

 
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Form 2400A, Reaffirmation Documents Page 3
C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.

1. Your present monthly income and expenses are:

2 \
a. Monthly income from all sources after payroll deductions § JDO
(take-home pay plus any other income)
Hoar;
b. Monthly expenses (including all reaffirmed debts except $ O* a 4 iO
this one)
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $.> 5 Us
A 21 o
d. Amount of monthly payment required for this reaffirmed debt to} <4

If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have
available to pay this reaffirmed debt (line c.), you must check the box at the top of page one that
says “Presumption of Undue Hardship.” Otherwise, you must check the box at the top of page
one that says ““No Presumption of Undue Hardship.”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you
or your dependents because:

Check one of the two statements below, if applicable:

x ; You can afford to make the payments on the reaffirmed debt because your monthly
é income is greater than your monthly expenses even after you include in your
expenses the monthly payments on all debts you are reaffirming, including this one.

(0 You can afford to make the payments on the reaffirmed debt even though your
monthly income is less than your monthly expenses after you include in your
expenses the monthly payments on all debts you are reaffirming, including this one,
because:

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

() You believe this Reaffirmation Agreement is in your financial interest and you can
afford to make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”

Valarie Anne Wells and James Douglas Wells 20-01747

 
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Form 2400A, Reatfirmation Documents Page 4

PART IIL CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

[hereby certify that:
(1) I agree to reaffirm the debt described above.
(2) Before signing this reaffirmation agreement, I read the terms disclosed in this Reaffirmation

Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V
below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4) Lam entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5) [have received a copy of this completed and signed Reaffirmation Gocuments forn.

oats (if this is a joint Reaflirmation Agreement, both debtors must sign.):

Date S \2 Q (2c Vinee me
= Debtor —

Sas, S|2 2| 20 \Yitznti (ada mre U)e0as)

Joint Debtor, ifany

Reaffirmation Agreement Terms Accepted by Crediter:

f
Creditor Ally Bank yo PO Box 13¢

. Bhan /

i \

   

 

 

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

[ hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the
debtor; (2) this agreement does not impose an undue hardship on the debtor or any dependent of the
debtor; and (3) I have fully advised the debtor of the lega! effect and consequences of this agreement and
any default under this agreement.

(J A presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page Ve pene is nota
Credit oper h } )/
We / c / ; i

oS ey,
Date:(/ X AyD. Signature of Debtor's Attorney / VV ‘ ‘ 7 _¢
ty

 

Print Name of Debtor's Attorney ichnae\ : : Co r Corer,

Valarie Anne Wells and James Douglas Wells 20-01747

 
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Form 2400A, Reaflinmation Decuments “Page.3

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review theterms disclosed in the Reaffirmation Agreement
(Part I sbove) and these additional important disclosures and instructions.

‘Reaffirming:a debt is a serious financial decision. The law requires. you to fake. certain steps to make
sure the decision is in your best interest, If ttiese steps, which are. detailed in the Instructions provided i i
Part V, Section B below, are‘not completed, the Reaffirmation Agreement is not effective, even though
you have signed it,

A. DISCLOSURE STATEMENT

1. What are.your obligations if you reaffirm a debt? A reaffirmed debt remains ‘your‘personal
legal obligation to pay. Your reaffirmed debt is not-discharged in-your bankruptcy case. That
meahs that if you default-on your ‘teaffirmed debt after your bankniptcy casé is over, your creditor
may bc able to take your property or your. wages. Your. obligations will be.detcrmined by the
Reaffirmation Agreement, which may. have changed the terms of the original agreement. Ifyou
are reaffirming an open end credit: agreement, that agreement or-applicable faw. may permit the.
creditor to change the terms of that agreement in the future under certain conditions.

2. Are you required to enter inte a reaffirmation agreement by any law? No, you are not
required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in-your best interest.
Be sure you can afford the payments that you agree to make.

3. What if your creditor has-a security interest or lien? Your bankruptcy discharge doesnot _
eliminate any. lieii on your property: A ‘lien’ is often referred to as a security interest, deed of
trust, mortgage; or security:deed. The propérty subject to a lien is often referred to.as. collateral.
Even if you do not reaffirm.and. your personal liability on the debt is discharged, your creditor
may stil have aright under the lien. to take the. collateral if you dé not pay or defautt oni the debt.
Ifthe collateral is personal property that is exempt-or that the trustee has.abandoned, you may be
able to.redeem the item rathér than feaffirm:the debt.'To.redeem, you make a’single payment to
the creditor equal to the-current value of the collateral, as the parties agree or the court determines,

4. How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter
into.a reaffirmation agreement, you must doso before you receive-your discharge. Affer you have
centered into a: reaffi imation agreement and all parts of this form that require. a signature have bcen
signed, either you or the creditor should file if. as soon-as possible. The signed agreement must be
filed with the court no later than.60 days after the first date set for the meeting of creditors, so that
the-court will have time to schedule-a hearing to-approve the agreement if approval is required.
However, the court may extend the ‘time for filing, even after the 60-day period has ended.

5. Can you cancel the agreement?. You may rescind (cancel) your Reaffirmation. Agreement at any”
time before the bankruptcy court enters your discharge, or ‘during the 60-day pericd that begins on.
the date your Reaffirmation Agreement is filed with the court, whichever occurs latet, To rescind
(cancel) -your Reaffirmation Agreemient, you must notify the creditor that your Reaffirmation
Agpicement is resciided (6t canceled), Remember that you can reécind the agreement, cven if the
court approves it, as long as you. rescind within the time allowed. ,

Valarie Anuc Wells and James Douglas Wells 20-01 747.

 
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‘Form 2400A, Reaifirmation Documents Page.6
6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. ifthe creditor is not a Credit Union, your Reaffirmation Agrecment becomes cffective
when it is filed with the court unless the reaffirmation is presumed to. be an undue
hardship. If the Reaffirmation: ‘Agreement is presumed to be an undue hardship, the court
must review it and may set a hearing to determine whether you‘have rebutted the
presumption of unduc hardship,

i, if the creditor is. a Credit Union, your Reaffirmation Agreement becomes effective
when it‘is filed with the court,

b. Ifyou were not represented by an atterney during the. negotiation: of your Reaftirmation
Agreement, the Reaflirmation Agreement will not be eflective.untess the court approves it.
‘To have the court approve your agreement,.you must fi ile a motion. See Instruction 5, below.
The court will notify you and the creditor of the hearing on-your Reaffirmation Agreement.
You must attend this hearing, at which time the judge will review your Reaffirmation
Agreernent. If the jidgeé decides thatthe Reaffinmation Agreement is in-your best interest, the
agreemesit will be approved. and will become effective. However, if your Reaffirmation
Agreement is fora consumer debt secured by a mortgage, deed of-trust, security deed, or
‘other lien on your real property, like your home, you-do not need to. file a motion.or get court
appraval of your Reaffirmation Agreement.

7. What.ifyou have questions. about what a creditor:can do? If you have questions about
reaffirming a débt or what the law requires, consult with the attorney. who, helped-you negotiate.
ihis:agreement. If you do not have an attorney helping-you, you may ask the judge to explain the
effect of this. agreenient to you at the hearing to approve the Reaffirmation Agreeinent. When this
disclosure refers 1o whal.a credilor “may” do, il is not giving ay creditor permission 10 do,
anything. Thé word “may” is used to tell you what might occur if the law permits the creditor to
take the action.

B. INSTRUCTIONS

1, Review these Disclosures and carefully consider your decision to teaffirm. If you want to
reaffirm, review and complete the formation contained in the:Reaffirmation Agreement (Part I
above). Tf your case is a joiit case, both spouses must sign the agreement if both are reaffirming.
the debt. , ,

3. Complete the Débtor’s Statement. in Support of Reaffirmation Agreement (Part If above). Be sure
that you can afford to make the payments that you arc agreeing to make and that you have
teceived.a copy of the Disclosure Statement and 2 completed and signed Reaffirmnation
Agreement.

3. Ifyou were represented by an attorney during the negotiation of your Reaffirmation Agreement,
your attorney must sign.and daté the Certification By Debtor’s Attorney section (Part IV above).

4. You-or your creditor must file with the court the original of this Reaffirmation Documents packet
and a completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. Ifyou are not represented by.an attorney, you must also complete and file with the couirt @
‘separate document entitled “Motion for Court Approval of Reaffirmation Agreement” wiless your
reaffirmation agreement is for a consumer debt secured by a lien on your real property; such as
your home, You can use Form 2400B.to do this.

“Valarie-Anne Wells and James.” Douglas Wells O01 TAF

 
Cc.

to

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“Farm 2400A, Reaffinmation Documents Page 7

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay. (reaffirm), by

entering into this agreement. The amount of debt includes any unpaid fees and costs that you are

-‘agrécing to pay that arose on or before’ the date of disclosure, which is the date specified in the

Reaffirmation Agreement (Part 1, Section B above). Your credit: agreement. may obligate you to
pay % additional amounts that arise after, the date of this disclosure: You should consult your credit
agreement to. determine whether you are obligated to .pay:additional amounts that may-arise after

‘the date of this disclostire.

“Annual Percentage Rate” means the interest rate on'a Joan expressed under the rules-required
by federal law. The annual percentage rate.(as apposed to:the “stated interest rate”). tells. you the-
full cost of your credit including many-of the.creditor’s fees and charges, You will find the annual

‘percentage rate for your original agrecment onthe disclosure statement that was given to you

when the joan papers were signed or on-the morithly statements sent to you foran open end credit
account such as a credit card.

“Credit Union” means a financial institution as defined in 12.U.8.C. § 461(b)C1)(A Gv). It is
owned and'controlled by and provides financial services to its members and typically uses words
like “Credit Union” or initials.like “C.U.” or “F.C.U." in its naine.

Valarie Anne: Wells and James Douglas Wells 20-01747-
